          Case 1:21-cr-00099-PLF Document 18 Filed 09/15/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :


v.                                    :              Case No. 21-cr-99 (PLF)


VAUGHN GORDON,                        :
Defendant.                            :


               UNOPPOSED MOTION TO CONTINUE STATUS HEARING
       Mr. Gordon, through undersigned counsel, and with the consent of government counsel,

respectfully requests a continuance of the status hearing currently scheduled for September 21,

to a date in approximately 60 days, with time excluded under the Speedy Trial Act in the

interests of justice. The government has not yet produced the bulk of discovery in this case.

While the government has not filed a status report on discovery in this case yet, the government

has represented that one will be filed shortly. Moreover, the government has represented in

similar cases that considerable discovery will be produced in the coming weeks. Once the

discovery is produced, Mr. Gordon and counsel will need time to review that discovery and

assess how he wishes to proceed. The parties have no objection to an exclusion of time from the

Speedy Trial Calculation and agree that the interests of justice will be served by such an

exclusion.
Case 1:21-cr-00099-PLF Document 18 Filed 09/15/21 Page 2 of 2




                           Respectfully submitted,

                           A. J. KRAMER
                           FEDERAL PUBLIC DEFENDER

                                  /s/

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